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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA

    v.                                       Case No. 3:07-cr-233-J-33TEM

    LAVORIS TERRELL JERRY
    ______________________________/

                                       ORDER

            This cause is before the Court pursuant to Defendant

    Lavoris    Terrell    Jerry’s     Motion    for   Early   Termination     of

    Supervised Release (Doc. # 365), which was filed on August 11,

    2014.     The Government filed a Response in Opposition to the

    Motion on August 26, 2014 (Doc. # 367).            For the reasons that

    follow, the Court grants the Motion.

    Discussion

            On June 26, 2008, the Court sentenced Defendant to a term

    of imprisonment of 70 months, to be followed by four years of

    supervised     release,    for     his     involvement    in    a    cocaine

    conspiracy. (Doc. # 228).            Defendant submits that he has

    completed 26 months of the 48 month term of supervised release

    without incident and seeks termination of supervised release.

    Defendant notes that he has “been very compliant” and is “on

    administrative       supervised    release.”      (Doc.   #    365   at   1).

    According to Defendant, he “just want[s] to close this chapter


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    of [his] life and move on.” (Id.).

          Although the Government concedes that Defendant has been

    fully compliant with the terms of his supervised release, the

    Government nonetheless opposes the Motion.           The Government

    indicates: “Defendant’s motion should be denied because he has

    not described sufficient reason for his case to be treated

    differently than any other case in which a term of supervised

    release has been imposed. The defendant’s compliance with the

    terms of his supervised release, although commendable, does

    not warrant early termination.” (Doc. # 367 at 3).

          Under 18 U.S.C. § 3583(e)(1), the court may, after

    considering various factors enumerated in 18 U.S.C. § 3553

          terminate a term of supervised release and
          discharge the defendant released at any time after
          expiration of one year of supervised release,
          pursuant to the provisions of the Federal Rules of
          Criminal Procedure relating to the modification of
          probation, if it is satisfied that such action is
          warranted by the conduct of the defendant released
          and the interest of justice.

    18 U.S.C. § 3583(e)(1).

          In this case, after conferring with Defendant’s Probation

    Officer, the Court determines that it is appropriate to

    terminate Defendant’s term of supervised release.           As aptly

    noted by the Government, Defendant enjoys full time employment

    as a vehicle detailer and “all urinalyses for controlled


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    substances      have     been    negative.”      (Doc.    #    367    at    2).

    Defendant’s     Probation       Officer   does    not    object      to    early

    termination of supervision and commented that Defendant has

    abided by all conditions of supervision and lives in a stable

    home   with    his     fiancé   and   son.     In   addition,        Defendant

    completed the 500 RDAP Program while in prison and he scored

    a low probability of any further substance abuse issues on his

    SASSI test.

           The    Court    commends    Defendant      for    his   efforts       and

    exercises its discretion to terminate Defendant’s term of

    supervised release.         However, the Court cautions Defendant

    that he must follow all governing laws and regulations and

    stay out of trouble.

           Accordingly, it is

           ORDERED, ADJUDGED, and DECREED:

           Defendant      Lavoris   Terrell      Jerry’s     Motion   for      Early

    Termination of Supervised Release (Doc. # 365) is GRANTED.

           DONE and ORDERED in Jacksonville, Florida, this 28th day

    of August, 2014.




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    Copies: All Counsel and Parties of Record

    United States Probation Office




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